                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

SARAH PALIN, an individual,

       Plaintiff,                                     No. 17 Civ. 4853

       – against –                                    Hon. Jed S. Rakoff

THE NEW YORK TIMES COMPANY,                           ECF Case
A New York corporation,

       Defendants.



    PLAINTIFF’S MEMORANDUM OF LAW REGARDING PUNITIVE DAMAGES

       At the February 7, 2022 charging conference and In the Joint Pretrial Consent Order [Doc.

148 at pp. 50-51], Defendants made the bald assertion that “New York State law … prohibits the

imposition of punitive damages in a defamation case such as this one ….” This is not correct.

       Defendants’ argument rests on Mahoney v. Adirondack Pub. Co., 71 N.Y. 2d 31, 41 (1987)1

(in which the court declined to address the argument concerning punitive damages in public

concern cases) and Prozeralik v. Cap. Cities Commc'ns, Inc., 82 N.Y.2d 466, 479, 626 N.E.2d 34,

41 (1993) (which explains that “upon proof and instructions, punitive damages may be available”

in cases where a defendant acts with common-law malice). Defendants fail to appreciate that the

court in Prozeralik was simply making clear that “actual malice” on its own, is insufficient to

justify an award of punitive damages. Id. Notably, the Supreme Court has recognized that punitive




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 Defendants claim that Mahoney “suggest[s] that cases involving public figures and ‘matters of
public concern’ are different than non-public concern cases with respect to punitive damages.”
See Joint Pretrial Consent Order [Doc. 148] at p. 50. However, the decision makes no such
“suggestion.”
damages are appropriate in cases implicating free speech rights where the plaintiff establishes

constitutional malice. See e.g., Curtis Pub. Co. v. Butts, 388 U.S. 130 (1967).

       That is why the Second Circuit has repeatedly cited Prozeralik in decisions upholding

punitive damages awards in cases involving public figure plaintiffs. For instance, in Celle v.

Filipino Rep. Enterprises Inc., 209 F.3d 163, 190–91 (2d Cir. 2000), the Second Circuit sustained

a punitive damages award in favor of a public figure and noted that “[p]unitive damages may only

be assessed under New York law if the plaintiff has established common law malice in addition to

the other elements of libel. (citing Prozeralik, 82 N.Y.2d at 479-80). Likewise, in DiBella v.

Hopkins, 403 F.3d 102, 122 (2d Cir. 2005), another public figure case, the court noted that “[u]nder

New York law, punitive damages in a defamation case are justified “‘to punish a person for

outrageous conduct which is malicious, wanton, reckless, or in willful disregard for another's

rights.’” (quoting Prozeralik, 82 N.Y.2d at 479–80); see also Stern v. Cosby, 645 F. Supp. 2d 258,

272 (S.D.N.Y. 2009) (same, quoting DiBella and Prozeralik).

       In Lewis v. Newsday, Inc., 246 A.D.2d 434, 437–38, 668 N.Y.S.2d 377, 379–80 (1998), a

case in which a topic of public concern was at issue, the Court found that it was error to dismiss

plaintiff’s punitive damages claim on summary judgment because there was sufficient evidence

for a juror to conclude the articles at issue were published with constitutional malice. See also

Huggins v. Moore, 94 N.Y.2d 296, 302 (1999) (“Where the defendant is a media publisher or

broadcaster and the plaintiff is neither a public official nor a public figure, but the statement

involves a matter of public concern, the plaintiff still must prove constitution malice to recover

presumed or punitive damages.”); Rombom v. Weberman, 2002 WL 1461890, at *9 (N.Y. Sup. Ct.

June 13, 2002), aff'd. 309 A.D.2d 844, 766 N.Y.S.2d 88 (2003) (“Punitive damages may be

asserted in a defamation action and constitutional free speech protections are not a bar, provided




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that ‘actual malice’ is proven, as it was here” (citation and quotation omitted)); Nellis v. Miller,

101 A.D.2d 1002, 1002, 477 N.Y.S.2d 72, 73–74 (1984) (“Punitive damages may be asserted in a

defamation action and constitutional free speech protections are not a bar, provided that ‘actual

malice’ is proven, as it was here” (internal citations omitted)).

       Defendants’ argument that New York state law precludes punitive damages in this case is

unfounded and contradicts well-established law.

Dated: February 8, 2022.                       /s/ Shane B. Vogt
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing Plaintiff’s Memorandum of Law Regarding
Punitive Damages was filed electronically on the 8th day of February, 2022. Notice of this filing
will be sent by operation of the Court’s electronic filing system to counsel of record for all parties
as indicated on the electronic filing receipt. Parties and their counsel may access this filing through
the Court’s system.
                                               /s/ Shane B. Vogt
                                               Attorney




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